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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


  UNITED STATES OF AMERICA                                                 PLAINTIFF


  v.                                                CRIMINAL NO. 3:21-CR-155-DJH
                                                          Electronically Filed

  JOSHUA WHITE                                                           DEFENDANT


           UNITED STATES’ NOTICE OF INTENT TO INTRODUCE
        EVIDENCE PURSUANT TO FEDERAL RULE OF EVIDENCE 902

        The United States of America, by and through its undersigned counsel, hereby

  notifies the defendant of the Government’s intent to introduce certain evidence as

  self-authenticating pursuant to the Federal Rules of Evidence. The Government

  intends to introduce electronic evidence by way of certification under Rule 902(14).

        Federal Rule of Evidence 902(14) permits the authentication of certain

  electronic evidence by certification rather than through the testimony of a live

  witness. See United States v. Dunnican, 961 F.3d 859, 871–72 (6th Cir. 2020) (holding

  that evidence extracted from a seized cell phone was “properly authenticated” by

  certification under Rule 902(14)). Rule 902(14) provides that the following evidence

  is self-authenticating:

        Data copied from an electronic device, storage medium, or file, if
        authenticated by a process of digital identification, as shown by a
        certification of a qualified person that complies with the certification
        requirements of Rule 902(11) or (12). The proponent also must meet the
        notice requirements of Rule 902(11).

  Fed. R. Evid. 902(14).
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        In enacting Rule 902(14) (along with Rule 902(13)), the Rules Committee noted

  that “as with the provisions on business records in Rules 902(11) and (12), the

  Committee has found that the expense and inconvenience of producing a witness to

  authenticate an item of electronic evidence is often unnecessary.” Fed. R. Evid.

  902(13), Advisory Committee’s Note (2017). “It is often the case that a party goes to

  the expense of producing an authentication witness, and then the adversary either

  stipulates authenticity before the witness is called or fails to challenge the

  authentication testimony once it is presented.” Id. “The amendment provides a

  procedure under which the parties can determine in advance of trial whether a real

  challenge to authenticity will be made and can then plan accordingly.” Id.

        In this case, law enforcement seized multiple electronic devices from the

  defendant during the execution of a search warrant at his residence.               The

  Government intends to introduce evidence acquired from five of those devices at trial.

  Reports relating to the creation of forensic images and the nature of and forensic tools

  used in the process have been produced to the defendant, along with reports of the

  forensic review of the forensic images. Defendant and his counsel have further

  reviewed the examinations of the forensic images multiple times at the offices of the

  Homeland Security Investigations.

        Attached to this notice as Exhibit A is the Rule 902(11) and 902(14)

  certification of Brad Hutchinson, Forensic Agent with the Department of Homeland

  Security Homeland Security Investigations. Agent Hutchinson attests that he was

  qualified to conduct the acquisitions, the process used to create the images was



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  reliable, and the digital acquisitions are a true and accurate copy of the original

  devices. As such, the Government has met the requirements of Rules 902(11) and

  (14) and will move to admit the forensic image extractions without the need for

  testimony from a live witness.

                                                Respectfully submitted,

                                                MICHAEL A. BENNETT
                                                United States Attorney

                                                s/ A. Spencer McKiness
                                                A. Spencer McKiness
                                                Stephanie M. Zimdahl
                                                Assistant U.S. Attorneys
                                                717 West Broadway
                                                Louisville, Kentucky 40202
                                                PH: (502)582-5911
                                                FAX: (502)582-5067
                                                Email: spencer.mckiness@usdoj.gov


                            CERTIFICATE OF SERVICE


         I hereby certify that on October 22, 2024, I electronically filed the foregoing
  with the clerk of the court by using the CM/ECF system, which will send a notice of
  electronic filing to the counsel to the defendant.

                                                s/ A. Spencer McKiness
                                                A. Spencer McKiness
                                                Assistant United States Attorney




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